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                                                                                   2023 Dec-21 AM 10:34
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

CHARLES RAY RICKETTS,                      )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )   Case No. 2:22-cv-889-LCB-GMB
                                           )
 MARK PETTAWAY, et al.,                    )
                                           )
       Defendants.                         )

                                      ORDER
      Plaintiff Charles Ray Ricketts has filed a motion for discovery requesting “all

video—body cam, dash cam and all other videos.” Doc. 38. After Ricketts filed a

previous motion for discovery noting that the thumb drive he received from the

defendants did not include body and dash camera recordings from Defendants

Patterson and Streit (Doc. 21 at 1), defense counsel represented that the defendants

had now produced all body worn cameras and dash camera recordings in their

possession. Doc. 25 at 1.

      The court then ordered Patterson and Streit to file declarations attesting to the

veracity of counsel’s representation. Doc. 28. On April 28, 2023, Patterson and

Streit filed their affidavits, affirming that they do not have any recordings they have

not produced. Docs. 30-1 & 30-2.

      Accordingly, it is ORDERED that Ricketts’ motion for discovery (Doc. 38)
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is DENIED.

      The Clerk of Court is DIRECTED to mail a copy of the docket sheet in this

action to the plaintiff along with his copy of this order.

      DONE and ORDERED on December 21, 2023.


                                     _________________________________
                                     GRAY M. BORDEN
                                     UNITED STATES MAGISTRATE JUDGE




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